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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA


   THE THOMAS L. PEARSON AND
   THE PEARSON FAMILY MEMBERS FOUNDATION,

               Plaintiff and Counterclaim
               Defendant,

         v.

   THE UNIVERSITY OF CHICAGO,

               Defendant and Counterclaimant.

     AND                                        No. 18-cv-99-GKF-FHM

   THE UNIVERSITY OF CHICAGO,

               Counterclaimant and Defendant,

         v.

   THE THOMAS L. PEARSON AND
   THE PEARSON FAMILY MEMBERS FOUNDATION,

               Counterclaim Defendant and
               Plaintiff,

   THOMAS L. PEARSON,

               Counterclaim Defendant.



                    THE UNIVERSITY OF CHICAGO’S BRIEF IN
                 OPPOSITION TO PLAINTIFF’S MOTION TO COMPEL
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                                              Introduction

           In its motion to compel, the Pearson Foundation misrepresents the University of

   Chicago’s ongoing compliance with the Grant Agreement. Contrary to the Foundation’s

   assertions, the University continues to comply with its obligations, and the Pearson Institute

   continues to grow, to contribute, and to thrive in its field. For example, in the last six months the

   Pearson Institute:

                   Co-hosted with Queens University Belfast in Northern Ireland a
                    conference of renowned international scholars and policy leaders
                    to examine new strategies for addressing global conflicts;

                   Held the inaugural Pearson Global Forum, a conference of leading
                    scholars and policymakers from around the world who discussed
                    and debated ideas for the prevention and resolution of global
                    conflicts;

                   Appointed Nobel Laureate Roger B. Myerson as the Pearson
                    Institute’s final faculty chair; and

                   Moved into the University’s newly renovated Keller Center.

   Despite the Pearson Institute’s progress and success, including completion of two of the key

   obligations (the Forum and the final faculty chair) that formed the basis of the Foundation’s

   complaint, the Foundation persists in its efforts to avoid its contractual obligations and to revoke

   its grant.

           The Foundation’s motion also fails to accurately portray the broad scope of discovery the

   University already has agreed to—and the narrow limits the Foundation has imposed on its own

   discovery. The Foundation’s demands would require the University to undertake additional

   burdensome and intrusive efforts to provide information that is irrelevant or marginally relevant,

   and in some cases also highly sensitive and confidential. The motion should be denied.




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                                               Background

          The parties have engaged in substantial negotiations to try to resolve their discovery

   disputes. In these negotiations, the University agreed to compromise by expanding the scope of

   its document review, including agreeing to employ search terms that will result in the

   University’s review of over 280,000 documents from 22 custodians. Ex. 1, Paul Decl. ¶¶ 2-3.

   These custodians include the principal University personnel involved in the University’s

   performance under the Grant Agreement, and various other, more peripheral, individuals

   demanded by the Foundation. Despite the expansive discovery the University has agreed to, the

   Foundation demands more, including:

                 26 additional search terms that would result in the University’s
                  review of more than 200,000 additional documents, none of which
                  contain the word “Pearson”;

                 Four more custodians, including the University’s Board Chairman
                  and its General Counsel; and

                 Full imaging of all 22 custodians’ cell phones, even for those who
                  have not sent or received text messages related to the Pearson
                  Institute.

          Meanwhile, at the time it moved to compel, the Foundation had not yet committed to

   either the search terms it would use to identify potentially responsive documents or the complete

   list of custodians from which the Foundation would gather documents. After filing its motion,

   the Foundation committed to five custodians and search terms.

                                                Argument

   I.     The Harm That Would Result From Producing Highly Sensitive and Confidential
          Information About Faculty Hiring Far Outweighs Any Arguable Relevance

          Three of the Foundation’s discovery requests at issue seek information about the criteria

   the University used in evaluating faculty candidates for the Pearson Institute and all documents

   related to the University’s hiring of the Pearson Institute’s chaired faculty. Mot. at 5-6


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   (Interrogatory 5), 9-12 (Document Requests 24, 31). The broad scope of these requests would

   include highly sensitive information from faculty tenure files, including confidential

   recommendation letters.

          In response to these requests, the University has produced the “Shils Report,” a document

   prepared by the University’s Committee on the Criteria of Academic Appointment that details

   the criteria the University uses for faculty appointments. See Ex. 2, University’s Supplemental

   Discovery Resps. at 5; Ex. 3, Shils Report. The University, however, objects to producing (a) its

   tenure file materials, and related correspondence, for Pearson Institute faculty and (b) materials

   related to other Pearson Institute faculty candidates that the University considered but did not

   ultimately hire.

          As reflected in the Grant Agreement, the University insisted and the Foundation agreed

   that the Foundation would have no role or authority in faculty hiring. Maintaining strict

   confidentiality of this highly sensitive information related to faculty candidates is essential to the

   integrity of the University’s evaluation and selection of faculty. If—despite the Grant

   Agreement’s express exclusion of the Foundation from any role in faculty hiring—the

   Foundation were permitted to use discovery in this case to obtain these highly sensitive faculty

   files, that would damage the rigorous and candid faculty evaluation process. The harm and

   burden of this discovery far outweighs any arguable relevance.

          A.      The Foundation Contracted Away any Role or Authority in Faculty Hiring

          As the University insisted, the Grant Agreement expressly protects its faculty hiring

   process from any interference, oversight, or involvement by the Foundation and the Pearsons:

                  The Donor acknowledges and agrees that neither it, nor any
                  member of the Pearson Family . . . will have any role or authority
                  with respect to making appointments (academic or professional) to
                  the Pearson Institute or the Pearson Forum . . . .



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   Ex. 4, § 3.5(b), Grant Agreement. The Foundation argues that, despite this Grant Agreement

   provision, it is entitled to information related to the University’s recruitment and consideration of

   faculty for the Pearson Institute, including tenure files. The Foundation relies on its allegation

   “that the University breached the Grant Agreement by hiring two junior, non-tenured professors

   . . . .” Mot. at 6.1

           This allegation cannot overcome the express terms of the Grant Agreement. While the

   Foundation in a footnote disclaims seeking “authority over the hiring process,” in the next breath

   the Foundation says that it “seeks to enforce the parties’ understanding” regarding the

   “preeminence and stature” of the Pearson Institute faculty. Mot. at 6 n.1. These allegations are a

   direct attack on the qualifications of the faculty hired by the University, and are precisely the

   type of interference prohibited by section 3.5(b) of the Grant Agreement. The Foundation agreed

   that it would have no “role or authority” over faculty hiring decisions for the Pearson Institute.

   That provision remains in effect and should inform the scope of permissible discovery. Even

   setting aside section 3.5(b), the Foundation’s motion offers little explanation for why the tenure

   files and related documents are relevant to the parties’ contractual dispute—for example, the

   Foundation cites no language from the Grant Agreement that sets forth qualifications for the two

   Pearson Institute chair positions at issue or that constrains the University’s hiring discretion.

           Contrary to the Foundation’s suggestion, the Court did not validate the theory that the

   Foundation could prove a breach claim based on the qualifications of the Pearson Institute

   faculty. Mot. at 6, 10. In ruling on the University’s motion to dismiss, the Court chose not to

   reach the question of the proper scope of the Foundation’s faculty-hiring claim: “Regardless [of


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     The Foundation also relies on its allegation that the University “fail[ed] to keep the Foundation
   informed regarding recruitment” of the chaired faculty. Mot. at 6. Proof of this allegation will
   turn on the University’s communications with the Pearsons, which the University will produce.


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   the faculty-qualification allegation], the Foundation’s allegations that the University has not

   appointed the final faculty chair and has not kept the Foundation reasonably informed of its

   efforts to do so adequately state claims for breach of §§ 3.4 and 5.1.” Dkt. No. 46, Opinion and

   Order at 16. The Court permitted the faculty-hiring claim to proceed based on the Foundation’s

   allegation that the final Pearson Institute chair was not filled—the University has since appointed

   Nobel Laureate Roger Myerson to fill that position—but the Court did not address whether the

   Foundation’s allegations about the qualifications of the Pearson Institute faculty were properly

   within the scope of this claim.

          While the Court did not need to reach this issue at the motion to dismiss stage, the

   Foundation’s decision to pursue invasive discovery into the University’s hiring process squarely

   implicates section 3.5(b) of the Grant Agreement. The Foundation should not be permitted to

   circumvent its contractual commitment to avoid any role in the University’s academic hiring

   decisions by obtaining highly sensitive information about that process.

          B.      Disclosure of the University’s Tenure Files Would Threaten the Integrity of
                  its Academic Hiring

          Even in cases where a party did not expressly contract away any involvement in hiring

   decisions, courts have been cautious in ordering the production of personnel records like those

   sought by the Foundation. “Because there is a strong public policy against disclosure of

   personnel information, such requests are subject to a heightened relevancy standard.” Westport

   Ins. Corp. v. Hippo Fleming & Pertile Law Offices, 319 F.R.D. 214, 218 (W.D. Pa. 2017)

   (denying a motion to compel personnel records of insurance company employees in a coverage

   dispute). As then-Judge Gorsuch stated in affirming an Oklahoma district court’s refusal to allow

   such discovery, while personnel files are not “categorically out-of-bounds” in discovery, they

   “often contain sensitive personal information . . . and it is not unreasonable to be cautious about



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   ordering their entire contents disclosed willy-nilly.” Regan-Touhy v. Walgreen Co., 526 F.3d

   641, 648-49 (10th Cir. 2008).

          This caution has particular force in the context of university hiring decisions, where

   academic freedom is also implicated. “[C]ourts must be extremely wary of intruding into the

   world of university tenure decisions.” Kumar v. Board of Trustees, 774 F.2d 1, 12 (1st Cir. 1985)

   (Campbell, C.J., concurring); see also Keyishian v. Bd. of Regents of Univ. of New York, 385

   U.S. 589, 603 (1967) (“Our Nation is deeply committed to safeguarding academic freedom,

   which is of transcendent value to all of us and not merely to the teachers concerned.”).

          For that reason, before ordering production of documents related to faculty hiring, courts

   carefully balance the risks of disclosure against the requesting party’s showing, if any, that the

   discovery is relevant to a party’s claims. See, e.g., Blum v. Schlegel, 150 F.R.D. 38, 42

   (W.D.N.Y. 1993) (denying motion to compel tenure files because plaintiff did not demonstrate

   their relevance and “allowing disclosure . . . would have serious potential for harm to

   [professors’] interests in candid, professional evaluation of their qualifications as law

   professors”). Although the Supreme Court declined to recognize an outright privilege against

   disclosure of tenure files in University of Pennsylvania v. E.E.O.C., 493 U.S. 182, 193 (1990),

   cases allowing access to tenure files, including University of Pennsylvania, have generally arisen

   in the context of employment discrimination claims, where personnel records—in contrast to this

   case—are central. See, e.g., Theidon v. Harvard Univ., 314 F.R.D. 333, 336 (D. Mass. 2016)

   (ordering production because “[t]he information at issue is essential to Theidon’s effort to

   acquire probative evidence” supporting her discrimination claim); Ibrahim v. Am. Univ., No. 98-

   1032 TFH, 1999 WL 458166, at *2 (D.D.C. May 24, 1999) (ordering production because “the




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    information contained in the tenure files is relevant—and may be crucial—to plaintiff’s

    [discrimination] claims”).

            Like other institutions of higher education, the University requires and depends on the

    utmost candor from those—both internal and external to the University—who provide

    assessments of, evaluate, and vote on faculty candidates. See Ex. 3, Shils Report at 7 (describing

    the importance of evaluations from students, faculty, and external assessors). Production under

    the protective order would not sufficiently mitigate the harm of disclosure because any

    disclosure of faculty tenure files risks chilling the integrity of the process not only at the

    University of Chicago, but potentially at other institutions of higher education as well.

    Recommenders who believe their letter will be viewed by someone other than the members of

    the faculty search committee may be less likely to give candid feedback. A voting faculty

    member who is concerned that the tenure vote will be revealed outside the University will be less

    likely to vote according to conscience.

            Given the highly sensitive nature of this discovery, and the Foundation’s inability to

    demonstrate its relevance, disclosure is not justified.

    II.     The University Should Not Be Compelled to Provide Even More Detail About the
            Pearson Institute’s Curriculum

            The Foundation’s interrogatory 11 seeks information about the Pearson Institute’s

    curriculum. In response, the University provided a list of the 27 courses the Pearson Institute has

    offered (or intends to offer) from the launch of the Pearson Institute through the 2018-2019

    academic year. Mot. at 7-8. The University provided the name of each course, the professor who

    taught (or is scheduled to teach) it, and the academic year during which the course was (or is

    planned to be) taught. Id.




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            The Foundation insists that the University must also describe “whether, and to what

    degree” each course “was taught by that respective professor, or other professors, instructors, or

    teaching assistants, prior to the creation of The Pearson Institute.” Mot. at 7. But that portion of

    the request seeks information that has no relevance to the University’s obligations under the

    Grant Agreement. Even if a faculty member relied on prior course materials and ongoing

    research in developing a syllabus for a course taught in connection with the Pearson Institute, the

    Foundation offers no explanation for why this would be improper under the Grant Agreement.

    The Agreement does not impose any specific requirements for the content of the Pearson

    Institute’s curriculum. To the contrary, the Agreement preserves the University’s academic

    independence by explicitly prohibiting the Foundation from having “any role or authority with

    respect to . . . setting the research agenda for the Institute.” Ex. 4, § 3.5(b). Because the

    Foundation has made no showing that the level of detail it seeks about the Pearson curriculum is

    relevant, the University should not be compelled to go through the exercise of compiling the

    information.

    III.    The University Should Not Be Compelled to Produce Irrelevant and Sensitive
            Information from Calendars of University Officials

            The Foundation’s document request 29 seeks “all appointment books or log, diaries,

    and/or calendars” for President Robert Zimmer, Provost Daniel Diermeier, Associate Provost

    Nichole Nabasny, and Pearson Institute Director James Robinson. Mot. at 10. The University has

    agreed to produce calendar entries that relate to the Pearson Institute, the Pearson Forum, or the

    Foundation’s gift. But the University objects to the Foundation’s unreasonable request to

    produce entire calendars for these University officials because the calendars include sensitive

    information that is wholly unrelated to this lawsuit, the Pearson Institute, or the Grant

    Agreement.



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            The calendars of President Zimmer and Provost Diermeier, in particular, may include

    highly confidential and sensitive information about, for example, the University’s strategic plans

    and finances, current and prospective donors, unrelated legal issues, and personnel matters. The

    University has agreed to produce relevant entries and the Foundation offers no plausible basis for

    its intrusive request for irrelevant ones.

    IV.     The University Should Not Be Required to Collect Documents from the Four
            Additional Custodians the Foundation Seeks

            The University has agreed to collect documents from 22 custodians, including the

    University President, Provost, and multiple Vice Presidents; University personnel primarily

    responsible for the University’s performance under the Grant Agreement; the Pearson Institute’s

    key staff; and the challenged Pearson faculty. The Foundation nonetheless insists that the

    University include additional custodians whose involvement was inconsequential or who have

    documents that are substantially duplicative or privileged.

            As the responding party, the University is best situated to know which custodians most

    likely possess responsive, non-privileged information. Mortgage Resolution Servicing, LLC v.

    JPMorgan Chase Bank, N.A., 15 Civ. 0293 (LTS) (JCF), 2017 WL 2305398, at *2-3 (S.D.N.Y.

    May 18, 2017). The Foundation had demanded the University include 28 custodians (while the

    Foundation offered only two of its own). Ex. 5, 8/16/18 Ellis Email. The University had

    proposed 16 custodians, but in an effort to compromise and avoid involving the Court, the

    University agreed to collect from six more. Ex. 1, Paul Decl. ¶ 3. In addition to the key

    individuals noted above, the University’s agreed list now includes custodians who are peripheral,

    at best, such as two administrative assistants, two custodians whose only relationship to the

    Pearson Institute was to help staff prepare budgets and approve expenses, and two custodians

    whose role was limited to the September 2015 grant announcement. Id. ¶¶ 4-8. Meanwhile, the



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    Foundation refused to expand its original offer of two custodians until after filing this motion,

    when it agreed to collect documents from three additional officers of the Foundation. Ex. 6,

    1/9/19 Ellis Email.

           A.      Chairman of the Board of Trustees Joseph Neubauer

           As Chairman of the University’s Board of Trustees, Mr. Neubauer has had no direct

    connection to the issues in this case. He had no role in negotiating the Grant Agreement, no

    responsibility for managing the operation of the Pearson Institute, and no involvement in the

    University’s performance under the Agreement.

           It is highly unlikely that Mr. Neubauer will have relevant and “unique” documents, given

    his very limited involvement. Mot. at 15-16. The University has agreed to produce non-

    privileged portions of minutes and agendas of Board meetings that reference the Pearson

    Institute, the Pearson Forum, or the Foundation’s gift. Relevant non-privileged communications

    with the Board and the Executive Committee, Mot. at 16, will be included in the documents the

    University is collecting from President Zimmer, who is a custodian.

           B.      Former Executive Vice President David Greene

            Mr. Greene left his position as Executive Vice President at the University for a role at

    another institution in 2014, more than nine months before the parties executed the Grant

    Agreement. As the Foundation notes, Mr. Greene’s involvement was limited to his participation

    in meetings “leading up to the negotiations” over the Grant Agreement. Mot. at 16 (emphasis

    added). He had no role in the negotiations themselves. To the extent Mr. Greene authored or

    received any emails about the Pearsons’ proposed gift in the first half of 2014, those emails

    would likely have included the primary University representatives at that time, David Fithian and

    Kenneth Manotti, both of whom are document custodians.




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           Beyond his tangential connection to the case, it would be a significant burden to include

    Mr. Greene as a custodian. The University would have to (1) collect and process any of Mr.

    Greene’s emails that remain on the University’s legacy storage systems, (2) run search terms

    that, by design, capture an over-inclusive set of documents, and (3) review those documents for

    responsiveness and privilege. Given Mr. Greene’s limited role in early discussions with the

    Pearsons, it is not proportionate to the needs of the case for the University to include him as a

    custodian.

           C.      University General Counsel Kim Taylor and Senior Associate General
                   Counsel Russell Herron

           Both Ms. Taylor and Mr. Herron have acted as legal counsel and provided legal advice

    throughout the University’s dealings with the Foundation and the Pearsons. Much like the

    Foundation’s own counsel—who the Foundation has refused to include as custodians—a

    substantial portion of Ms. Taylor’s and Mr. Herron’s documents are protected from discovery

    because they are attorney-client privileged or attorney work product. The University determined

    early in its discussions with the Pearsons that substantial legal counsel, and an extensively

    drafted and negotiated agreement, would be required in connection with the Foundation’s grant

    for two main reasons: (1) the complexity of the Grant Agreement, and (2) the Foundation had

    engaged its own counsel—Daniel Shapiro and Neil Kawashima—to negotiate the terms of that

    agreement.

           The Foundation’s argument that because Ms. Taylor and Mr. Herron are inside

    University counsel their advice “is presumptively business advice, rather than legal advice”

    misstates the law. Mot. at 16. The case the Foundation quotes and cites, Lindley v. Life Inv’rs

    Ins. Co. of Am., 267 F.R.D. 382 (N.D. Okla. 2010), aff’d in part as modified, No. 08-CV-0379-




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    CVE-PJC, 2010 WL 1741407 (N.D. Okla. Apr. 28, 2010), did not adopt such a presumption.2

    Instead, Lindley considered the attorney’s status as in-house counsel as just “one of many factors

    in determining whether the communication at issue was made for the purpose of seeking or

    providing legal advice.” Id. at 391. As courts in Oklahoma and New York recognize, the

    privilege analysis for inside counsel turns on whether the communication is legal advice, which

    is protected, or business advice, which is not. See, e.g., Lindley v. Life Inv'rs Ins. Co. of Am.,

    No. 08-CV-0379-CVE-PJC, 2010 WL 1741407, at *5 (N.D. Okla. Apr. 28, 2010) (reversing

    magistrate’s order compelling production where the document “contain[ed] legal advice that

    defendant treated as a confidential communication between itself and its in-house counsel”);

    Note Funding Corp. v. Bobian Investment Co., 1995 WL 662402, *3-4 (S.D.N.Y. Nov. 9, 1995)

    (“If attorney presents or answers questions or issues of commercial strategy, but presents and

    analyzes those issues ‘on the basis of his legal expertise and with an obvious eye to the

    constraints imposed by applicable law,’ then the communication is privileged.” (citations

    omitted)). The roles of Ms. Taylor and Mr. Herron in connection with the Pearson Institute have

    been as legal counsel for the University.

           Moreover, Ms. Taylor’s and Mr. Herron’s responsive emails to and from the 22

    University custodians—which includes all University personnel with a substantial role in this

    dispute as well as some with only a tangential role—will be produced, or logged as privileged, in

    connection with the review of those 22 custodial files. The University’s review already includes

    several thousand such emails.


    2
      The Foundation relies on Oklahoma privilege law, even though the Grant Agreement provides
    for New York law. Dkt. No. 46, Opinion & Order at 7 (“Here, both parties agree the Grant
    Agreement’s choice-of-law clause applies and that New York law governs the Foundation’s
    claims.”). The Court need not decide whether New York or Oklahoma privilege law applies
    because they are consistent as applied here.


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           Even as it demands that the University’s counsel be designated as custodians, the

    Foundation refuses to include its own counsel, Mr. Shapiro and Mr. Kawashima, as custodians.

    Ex. 6, 1/9/19 Ellis Email. Both were involved with negotiating the Grant Agreement on behalf of

    the Foundation. In addition to his role as counsel to the Foundation, Mr. Shapiro is also an

    officer of the Foundation and its representative on the Pearson Institute Advisory Council. The

    Foundation refuses to include Mr. Shapiro and Mr. Kawashima as custodians because it says “the

    vast majority” of their documents are attorney-client privileged or are duplicative of documents

    in the other Foundation custodians’ files. Ex. 5, 8/16/18 Ellis Email at 3. The same analysis

    applies to Ms. Taylor’s and Mr. Herron’s documents.

    V.     The University Should Not Be Compelled to Use the Foundation’s Additional
           Demanded Search Terms

           The Foundation also asks the University to run 26 additional terms against the documents

    of its 22 custodians, which would add more than 200,000 documents to the more than 280,000

    the University has already agreed to review.

           The University has already agreed to review any document that uses the term “Pearson,”

    “Global Forum,” or any of more than a dozen other terms. Ex. 7, University’s Search Terms. In

    August and September, the parties exchanged proposals for search terms the University would

    apply. Ex. 8, 8/21/18 Meehan Email; Ex. 9, 9/13/18 Ellis Email. In October, in an effort to avoid

    a protracted discovery fight, the University agreed to run nearly every term the Foundation

    requested. Ex. 10, 10/2/18 Paul Email.

           But less than a week later, the Foundation changed its position and greatly expanded the

    list of terms it demanded. Ex. 11, 10/8/18 Ellis Email. The expanded list of terms the Foundation

    demands would add more than 200,000 documents to the University’s document review. Ex. 1,

    Paul Decl. ¶ 9. Most of the Foundation’s additional demanded terms are a combination of



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    “Institute” with another generic term, such as “contract,” “agreement,” or “chair.” Mot. at 18-19.

    As the University explained during the parties’ negotiations, the University has over 30 institutes

    and therefore generally includes the term “Pearson” when referring to the Pearson Institute.

    Ex. 1, Paul Decl. ¶ 10.

           The Foundation incorrectly claims the terms are “tailored” and speculates that it is

    “unlikely such terms would be used in contexts that are not relevant to this litigation.” Mot.

    at 19. The University’s counsel reviewed a random sample of 100 of these additional documents

    and none were responsive to the Foundation’s document requests. Ex. 1, Paul Decl. ¶ 11. That is

    not a surprise because the University is already running the term “Pearson” along with numerous

    other terms. So, by design, the Foundation’s additional terms capture only documents that do not

    mention Pearson, Pearson Institute, Pearson chair, etc. The University should not be required to

    undertake this unreasonable burden.

    VI.    The University Should Not Be Compelled to Collect Personal Data on its
           Custodians’ Mobile Phones

           The Foundation seeks to compel the University to image, search, and review the mobile

    phones of 22 custodians. Mot. at 20-22. The Foundation’s intrusive position is baseless.

           First, Rule 34 only permits the Foundation to request material in the University’s

    “possession, custody, or control.” Fed. R. Civ. P. 34(a)(1). Some of the 22 custodians have

    personal cell phones that the University neither purchased nor pays for. The University’s

    technology policy does not give the University the right to access personal data on those

    employees’ personal mobile phones. See Ex. 12, “University’s Policy on Information

    Technology Use and Access” at 3 (available at https://its.uchicago.edu/acceptable-use-policy/).

    As to those custodians, the University cannot be compelled to collect, search, and review all of

    the data, including mostly personal data, on those mobile devices. See Cotton v. Costco



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    Wholesale Corp., No. 12-2731-JW, 2013 WL 3819974, at *6 (D. Kan. July 24, 2013) (denying

    motion to compel production of text messages where court found Costco did not have

    “possession, custody, or control” over employees’ personal cell phones); Hayse v. City of

    Melvindale, Civ. Act. No. 17-13294, 2018 WL 3655138, at *7 (E.D. Mich. Aug. 2, 2018),

    objections overruled, Civ. Act. No. 17-13294, 2018 WL 4961528 (E.D. Mich. Oct. 15, 2018)

    (denying motion to compel text messages because the requesting party “has not met his burden

    of demonstrating that the personal devices belonging to the nonparty employees are within the

    defendants’ possession, custody or control”).

           Nonetheless, the University has agreed to ask each custodian—except for two who are

    former employees—whether they have any relevant communciations and, if so, to collect and

    produce responsive nonprivileged messages. Ex. 1, Paul Decl. ¶ 12. For custodians who are

    uncertain whether they may have relevant messages on their phone, the University’s counsel and

    eDiscovery vendor have worked with the custodian to conduct relevant searches of their native

    messaging applications. Ex. 1, Paul Decl. ¶ 13.

           The Foundation argues that this process is deficient because it is “based upon the

    representations [the University’s custodians] make about whether they have responsive text

    messages.” Mot. at 20. But it is not improper or unreasonable for the University to rely on a

    custodian’s representation that he or she does not send or receive text messages about the

    Pearson Institute or the Pearsons. There is no basis to require the University to take steps beyond

    the reasonable course to which it has agreed.

                                               Conclusion

           For the foregoing reasons, the University respectfully requests that the Court deny the

    Foundation’s motion to compel.




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    Dated: January 22, 2019                      Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

            I hereby certify that on this 22nd day of January, 2019, I electronically transmitted the
    attached document to the Clerk of Court using the ECF System for filing. Based on the records
    currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the following
    registrants:

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